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CullenCollimore plic

   

 

10 East Pearl Street
Nashua, NH 03060
p: 603.881.5500

beullen@cullencollimore.com

May 28, 2013

Fred Runyon, pro se
Inmate #86769

NH State Prison for Men
281 North State Street
P.O. Box 14

Concord, NH 03302-0014

Re: Fred Runyon v. FNU Lee, Nashua Police Detective, et al.
Civil Action No.: 12-CV-290-PB

Dear Mr. Runyon:

Enclosed please find interrogatories to be answered by you and returned to this
office within 30 days pursuant to court rules. Please be sure to also complete the releases
attached.

Please feel free to contact me if you have any questions or concerns regarding this

matter.
Very truly yours,
Wwe
Brian J.S. Cullen
Enclosures

 

www.cullencollimore.com
UNITED STATES DISTRICT COURT

 

FOR THE
DISTRICT OF NEW HAMPSHIRE

Fred Runyon

Plaintiff
v.

Civil Action No. 12-CV-290-PB

City of Nashua, et al.

Defendants

 

INTERROGATORIES PROPOUNDED BY THE DEFENDANT, CITY OF NASHUA,
TO BE ANSWERED BY THE PLAINTIFF, FRED RUNYON. UNDER OATH

NOW COMES the Defendant, City of Nashua, by and through its attorneys,
CullenCollimore, pllc, and pursuant to Federal Rule of Civil Procedure 33, requests that the
Plaintiff answer in writing and under oath the following Interrogatories within thirty (30) days:

INSTRUCTIONS AND DEFINITIONS

The following constitute interrogatories propounded by the Defendant to be answered by
the Plaintiff, under oath, and request the production of specific documents. All answers must be
full and complete and must contain all facts and evidence which substantiate the answer as it is
given and which you would present to the Court. If there are any documents which substantiate
any answer, please refer to such document and attach a copy of it or them to your answers.

These interrogatories seek answers as of the date hereof but shall be deemed to be
continuing so that any additional information relating in any way to these interrogatories which
you acquire or which become known to you, up to and including the time of trial shall be
furnished to defendant promptly after such information is acquired and becomes known.

Unless specifically indicated, or otherwise required by the context in which the terms or,
names below are used:

A. You, your, and yourself refer to the Plaintiff and any of your agents,
representatives, attorneys, employees, and/or any individual or entity acting on your behalf or
under your control and also includes any party who has, or may have, custody, possession and/or
control of any documents requested herein.
B. Defendant or Defendants means and includes all Defendants as the context
requires, unless otherwise indicated.

C. “Document” or “documents” shall comprise, without limitation, all written,
printed, typed, or other graphic matter; all electronically-stored information which is capable of
being read, retrieved, printed-out, or otherwise accessed; and all printouts and runoffs now, or at
any time, have been in your possession, custody or control, or known to you, whether or not
prepared by you. “Document” or “documents” includes, but is not limited to, all
communications, correspondence, agreements, memoranda, reports, records, notes, diaries.

NOTE: Any copy, draft or working paper of any of the above documents which differ in any
fashion from the original document being produced, shall be produced as a separate document.

Any request for documents seeks all documents in the care, custody or control of the plaintiff or
which are in the care, custody or control of plaintiff's agents, employees, attorneys (except for
privileged information), consultants, experts, families, relatives or otherwise.

A. “Oral Communication” or oral communications shall mean all oral, visual, or
other sensory means of transmitting information, including through a document or documents ,
and also including, but not limited to, face-to-face conversations, acts, speech, conduct, events or
happenings and telephonic and other electronic or mechanical means of transmitting information,
messages, or statements.

B. ‘Written Communication” shall mean a letter, note memorandum, telegram,
mailgram, telex, electronic correspondence (including but not limited to “e-mail”), internet
communication, text, electronic “chat,” or other document.

Cc. “Concerning” means concerning, regarding, referring to, relating to, describing,
evidencing or constituting.

D. **All” means each, all and any.

E. “Any” means and includes any, all and each.

F, “ach” means each, all and any.

G. “And/or” shall be construed either disjunctively or conjunctively so as to bring

within the scope of the interrogatory all answers which might otherwise be construed to be
outside its scope.

H. “Injury” or “Injuries”, unless otherwise designated in the interrogatory, means
physical, mental or emotional injury.

I. The “incident” means the actions upon which your complaint is based.
J. All singular terms shall include the plural and all plural terms shall include the
singular.

K. All masculine terms shall include the feminine and all feminine terms shall
include the masculine.

L. If any document is withheld or not identified under claim of privilege, furnish a
list of all such documents for which a privilege is claimed, together with the following
information with respect to each document: (1) date; (2) author; (3) sender; (4) receiver(s),
including all copied and blind copied; (5) persons to whom copies were furnished; together with
their job titles; (6) the subject matter of the document; and (7) the basis on which the asserted
privilege is claimed.

NOTE: THE ABOVE DEFINITIONS ARE AN INTEGRAL PART OF THESE
INTERROGATORIES, AND THE PLAINTIFF IS CALLED UPON TO INCORPORATE
FULLY THOSE DEFINITIONS WHEN ANSWERING EACH OF THE
INTERROGATORIES BY INCORPORATING IN THOSE ANSWERS EACH OF THE
ITEMS OF INFORMATION SET FORTH IN THE DEFINED TERMS.

THESE INTERROGATORIES ARE DEEMED CONTINUING TO THE EXTENT
ALLOWED BY THE FEDERAL RULES OF CIVIL PROCEDURE.
1. Please state your full name and date of birth.

ANSWER:
2. Please state:
A. The name and address of each of your employer(s) from 2008 to the present;
B. The dates of your employment with each;
C. A detailed description of your duties for same;
D. The name of your immediate supervisor or other person for each employer who
would have the most knowledge of your work experience for each job described;
E. Your average gross weekly wage and net weekly wage.
F, The reason you terminated your employment with such employer.
ANSWER:
3, Please describe fully and in complete detail all of the injuries which you claim to have
sustained in the incidents alleged in your complaint. In answering this interrogatory, reference to
your complaint will not suffice as a complete answer unless you have no knowledge or
information responsive to this interrogatory in addition to that which is contained in the

complaint.

ANSWER:

4. Please describe fully and in complete detail how you sustained the injuries described in
response to the above interrogatory.

ANSWER:
5. Please describe fully and in complete detail how each incident occurred and how the
conduct of the Defendant, as you claim it to be, caused you to sustain the injuries described in
the response above.

ANSWER:
6. Please describe all medical treatment, including but not limited to mental health
treatment, you have received as a result of the injuries you claim were caused by the incident

including:

a.

ANSWER:

The name of the doctor or practitioner giving the treatment or performing the
procedures;

The name and location of the hospital or medical facility where you were treated;
The date(s) of each treatment or medical procedure;

Any instructions, medications, and medical aids prescribed or given to you in the
course of your treatment;

If you claim that you will incur medical expenses in the future because of the
physical injuries you allegedly sustained, please describe the nature and amount
of the anticipated expenses and the reason for the same.

Attach hereto a complete copy of all documents prepared by any individual or
facility identified at A above. Alternatively attach hereto a signed and dated
authorization running to that person(s) or the facility at which that person treated
you.
7. If you have made claims for any benefits against any other person, corporation, or other
organization, including the federal government, any state government, or any of their agencies,
as well as any health or accident insurers, for any injuries you allege you incurred in the last 10
years, please state:

A.

B.

ANSWER:

Name and address of each such person, corporation, or other organization;

' The date of such claim/application;

The injury or condition for which each such claim was made; and

Whether you have received any payment as a result of your claim to date and, if so,
the amount of said payment, the date the payment was received, and attach hereto
copies of all documents related to the claim or payment.
8. If you are claiming that you lost wages or that you incurred any financial losses or
damages whatsoever as a result of the incident and/or the injuries you allegedly suffered, please

state:

A.

ww

vu A

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ANSWER:

The item and amount you claim;

The name and address of the loss at issue;

The period during which you claim to have incurred such loss;
The calculation which you used to arrive at this figure;

Attach hereto any and all documents which support your claims of financial loss or
damages.
9, Please provide a complete list of your criminal convictions from 2003 to the present.
Please provide the following information for each conviction:

A.

B.

99

7

G.

ANSWER:

The date of conviction;

The offense for which you were convicted;

The name and location of the court in which you were convicted;

Whether you were convicted after a trial or pled guilty as part of a plea bargain;
If you were convicted following a trial, whether you testified in the trial;

Whether you were represented by a lawyer and if so, the name and address of the
lawyer;

The sentence imposed as a result of the conviction;

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10. Please identify each time you have been arrested or detained by a law enforcement
officer. Please provide the following information for each arrest or detention:

A.

B
C.
D

ANSWER:

The date of arrest or detention;

The reason for the arrest or detention;

The name and location of the police department or law enforcement agency;
The results of the arrest or detention;

If you were prosecuted as a result of the arrest or detention, the name and location
of the court in which you were prosecuted;

If you were represented by a lawyer, the name and address of the lawyer;
Whether you testified in any hearing or trial as a result of the arrest or detention;

Please provide a copy of all records or documents in your possession related to any
such arrest or detention.

1]
11. Please identify any and all witnesses and persons of whom you are presently aware that
have any information related to any of the allegations contained in your complaint or the facts
related to your arrest or claims. As to each such person please provide the following information:

A. The name, address, telephone number and occupation of each such person;

B. A detailed description of the information which you understand said person
possesses as it relates to any of the allegations contained in your complaint;

C. Please indicate whether, to your knowledge, any of the named persons have
provided a statement regarding your allegations or the facts related to your arrest or
claims. If so, please indicate to whom the statement was made, including the name
and address of the individual, and when the statement was given; and

D. Please provide a copy of any statement obtained from said person(s) or a detailed
summary of the testimony expected from each.

ANSWER:

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12. Please identify each expert you intend to call as a witness in this case. In regard to each
such expert, please provide the following information:

A.

B.

E.

ANSWER:

The name, residential and business addresses of each expert identified;

Provide a detailed description of the subject matter and opinions regarding which
each expert is expected to testify;

Provide the substance of all facts to which each expert is expected to testify and the
opinions which he/she is expected to offer based upon those facts;

Attach a copy of each expert’s curriculum vitae or resume detailing his/her
experience, education, background and training; and

Attach a copy of any written reports which have been prepared by each expert.

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Respectfully submitted,
CITY OF NASHUA
By its Attorneys,

CullenCollimore, pllc

Dated: May 28, 2013 By: Wee

Brian J. S. Cullen
NH Bar # 11265

10 East Pearl Street
Nashua, NH 03060
(603) 881-5500

beullen@cullencollimore.com

CERTIFICATE OF SERVICE

I hereby certify that the foregoing has been submitted for service via first class mail to
Fred Runyon, pro se, NH State Prison for Men, 281 North State Street, P.O. Box 14, Concord,

NH 03302-0014

Brian J.S. Cullen

 

Dated: May 28, 2013

14
Dated:

 

Fred Runyon
STATE OF NEW HAMPSHIRE
COUNTY OF
Personally appeared before me on , 2013 the undersigned officer, the
above-named individual, , and made oath that the foregoing statements are

true to the best of her knowledge and belief.

 

Justice of the Peace/Notary Public

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